                                                                                 10/2/2018 1:35 PM
Case 1:18-cv-03368-RLY-MPB Document 13-1 Filed 12/20/18 Page 1 of 6 PageIDFiled:
                                                                            #: 114    Tammy Baitz
                                                                                                                                   Clerk
                                                                                                                Hamilton County, Indiana




  STATE OF INDIANA                )                                  IN   THE HAMILTON CIRCUIT COURT
                                  )SS:
  COUNTY OF HAMILTON              )                                  CAUSE NO.:       29C01-1808-CT-7914

  CHRISTIAN TURNER,

                 Plaintiff,


         V.



  CARMEL CLAY SCHOOL CORR,                          vvvvvvvvvvvv




  CARMEL HIGH SCHOOL,
  NICHOLAS WAHL, and
  ZACHARY BONEWIT,

                 Defendants.


        DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES

         Come now the Defendants, Carmel          Clay School Corp., Carmel High School, Nicholas

  Wahl and Zachary Bonewit, by counsel,        for their           Answer to   Plaintiff’s   Complaint for Damages

  hereby respond as follows:


          1.     Defendants admit that      at all relevant          times herein Plaintiff Christian Turner


  (hereinafter, “Christian”)   was a   resident 0f Carmel, Hamilton County, Indiana.


         2.      Defendants admit that      at all relevant          times herein Carmel Clay School


  Corporation was a legal entity organized under the laws of the State of Indiana to provide public


  school education in the City 0f Carmel in Hamilton County, Indiana.


         3.      Defendants admit that      at all relevant          times herein Carmel High School was a


  public school providing public school education in the City of Carmel in Hamilton County,


  Indiana.


         4.      Defendants admit that      at all relevant          times herein Nicholas     Wahl was   the


  Superintendent of Carmel Clay School Corporation with his duties consistent with his job


  description.
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           5.      Defendants admit that       at all relevant   times herein Zachary Bonewit was a teacher


  at   Carmel High School With       his duties consistent With his job description.


           6.      Defendants admit that on 0r about March 27, 2018, a                  tort    claim notice was


  received Via certified mail from Plaintiff.


                                                     w
                                       NEGLIGENCE/RECKLESSNESS

           Come now the Defendants, by counsel,          and do hereby respond             to   Count   I   0f Plaintiff’s


  Complaint for Damages and do hereby respond as follows:

           7.      Defendants incorporate by reference the answers t0 rhetorical paragraphs 1-6


  above, including sub-parts, as paragraph seven (7) 0f Count                 I   of this Answer.


           8.      Defendants admit that on or about February             6,      2018, Plaintiff was an 18-year-old


  student at Carmel     High School and was       enrolled,   among     other classes, Zachary Bonewit’s              first



  period shop class.


           9.      Defendants admit that on or about February             6,      2018, Plaintiff was required to


  operate a band saw as part 0f the curriculum in his          first   period shop class.


           10.     Defendants deny that on that same date and time, the band saw in which Plaintiff


  was   operating, malfunctioned causing Christian to severely lacerate, nearly severing his right


  index finger.


           11.     Defendants deny that on or about February             6,    201 8, that Nicholas Wahl and


  Zachary Bonewit, acting in         their official capacity as agents of         Carmel High Schools and the

  Carmel Clay School Corporation,          as well as other   employees and/agents 0f Carmel High School

  and Carmel Clay School Corporation knew, or should have known,                        that the   band saw     in   Zachary

  Bonewit’s shop class was negligently installed and/or maintained. Furthermore Defendants


  specifically   deny   that the   band saw was negligently      installed and/or maintained.
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         12.     Defendants deny that on or about February 6, 2018, Nicholas Wahl and Zachary

  Bonewit, acting in their official capacity as agents of Carmel High School and the Carmel Clay

  School Corporation, as well as other employees and agents of Carmel High School and Carmel

  Clay School Corporation knew, or should have known, that the negligently installed and/or

  maintained band saw presented a highly dangerous condition for students such as Christian.

         13.     Defendants admit that on or about February 6, 2018, the Defendants, collectively

  and/or individually, owed a duty to students, including, but not limited to, Christian, to use due

  care for the protection and safety of their students. The Defendants deny breaching that duty to

  Christian in one or more of the following respects:

                 A.      Defendants, collectively and/or individually, allowed the improper and/or

  negligent installation of the band saw;

                 B.      Defendants, collectively and/or individually, failed to maintain the band

  saw in its proper working condition;

                 C.      Defendants, collectively and/or individually, failed to equip the band saw

  with the required and/or proper safety equipment;

                 D.      Defendants, collectively and/or individually, failed to adequately

  supervise students, including, but not limited to, Plaintiff, when operating dangerous equipment,

  like a band saw;

                 E.      Defendants, collectively and/or individually, failed to properly instruct

  students, including, but not limited to, Plaintiff, in the proper use of a band saw; and

                 F.      Defendants, collectively and/or individually, allowed the band saw to exist

  in a highly dangerous condition.




                                                    3
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            14.      Defendants deny that as a direct and proximate result 0f the Defendants’


  negligence, carelessness, recklessness, and deliberate indifference to Plaintiff’s safety, Plaintiff


  severely lacerated, nearly severing, his right index finger.


            15.      Defendants deny as a direct and proximate result 0f the malfunctioning band saw


  occasioned by the Defendants’ negligence, carelessness, recklessness, and deliberate indifference


  to his safety, Christian sustained     permanent and severe personal           injuries; incurred    and Will incur

  hospital, diagnostic, surgical, therapeutic, pharmaceutical,             and other medical expenses; suffered

  and will continue       t0 suffer physical pain,   mental suffering,     terror, fright, humiliation,     and loss 0f

  enjoyment 0f life; loss 0f future earning capacity; and incurred other              injuries   and damages 0f a

  personal and pecuniary nature.


                                         AFFIRMATIVE DEFENSES

            Come now the Defendants, Carmel            Clay School Corporation, Carmel High School,

  Nicholas       Wahl and Zachary Bonewit, by        counsel, for their Affirmative Defenses t0 Plaintiff’s


  Complaint for Damages allege and          say:


            1.       Plaintiff has unreasonably failed t0 mitigate his         damages.


            2.       Defendants are entitled to      all   0f the privileges and immunities afforded to them by


  the Indiana Torts       Claim Act, including, but not limited      t0,   the failure to   comply With the notice

  and/or time provisions 0f I.C. 34—13—3-1 et seq.


            3.       Plaintiff’s claims are barred     under the defense 0f contributory negligence.


            4.       T0   the extent that any   payments have been made t0 the          Plaintiff or   0n   Plaintiff’s


  behalf for the injuries and/or damages alleged in this litigation, such payments must be set off


  against   damages ordered      herein, if any.
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              5.       Defendants’ alleged actions or omissions did not proximately cause Plaintiff’s


  injuries and/or       damages.


              6.       Plaintiff incurred the risk,    assumed the   risk,   or failed t0 avoid damages/injury.


              7.       A11 pleading allegations not otherwise addressed are hereby specifically denied.


              8.       Defendants hereby reserve any and        all rights   they   may have t0 raise   additional


  affirmative defenses that        may   develop during the course 0f discovery in         this litigation.



                                          REQUEST FOR JURY TRIAL

              Come now the Defendants, Carmel           Clay School Corporation, Carmel High School,

  Nicholas         Wahl and Zachary Bonewit, by        counsel, respectfully request the Court set this matter


  for trial   by jury   for all issues in this cause.


                                                 Respectfully Submitted,


                                                 CHURCH CHURCH HITTLE + ANTRIM

                                           By:     Samuel R. Robinson, #22521-49
                                                 /s/

                                                 Samuel R. Robinson, #22521-49
                                                 Attorney for Defendants
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                                          CERTIFICATE OF SERVICE

             I,   the undersigned, hereby certify that a    copy 0f the above has been served 0n the
  following Via electronic       filing, this   2nd day of October, 2018, addressed   as follows:


  Charles P. Dargo, Esq.
  LAW OFFICES OF CHARLES P. DARGO, P.C.
  IslandGrove Building
  9151 N. 1200 W.
  Demotte, IN 46310




                                                 /s/   Samuel R. Robinson, #22521-49
                                                  Samuel R. Robinson, #22521—49



  Samuel R. Robinson
  Atty.   No. 22521-49
  CHURCH CHURCH HITTLE + ANTRIM
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  31 7- 773-2190
